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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     ENRIQUE RODRIGUEZ
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                    ) Case No.: Case No. 12-CR-00418 AWI-BAM
10   UNITED STATES OF AMERICA,                      )
                                                    )
11                  Plaintiff,                      ) STIPULATION AND ORDER TO MOVE
                                                    ) HEARING
12          vs.                                     )
                                                    )
13   ENRIQUE RODRIGUEZ,                             )
                                                    )
14                  Defendant                       )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   ANTHONY ISHII AND KATHLEEN SERVATIUS, ASSISTANT UNITED STATES
17   ATTORNEY:
18          COMES NOW Defendant, ENRIQUE RODRIGUEZ, by and through his attorney of
19   record, DAVID A. TORRES hereby requesting that the Motion Hearing currently set for
20   Monday, March 24, 2014 be taken off calendar and a Status Conference be set on March 24,
21   2014 in front of the Honorable Magistrate Barbara McAuliffe.
22          Neither defense counsel nor the AUSA have filed motions in this case. I believe that this
23   case can reach a disposition at the time of the status conference. I have spoken to AUSA
24   Kathleen Servatius, and she has no objection to the setting of a Status Conference.
25
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 1          The parties also agree the delays resulting from the continuance shall be excluded in the

 2   interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).

 3           IT IS SO STIPULATED.

 4                                                               Respectfully Submitted,

 5   DATED: 3/4/14                                               /s/ David A Torres     ___
                                                                 DAVID A. TORRES
 6                                                               Attorney for Defendant
                                                                 [DEFENDANTS NAME]
 7

 8
     DATED:3/4/14                                                /s/Kathleen Servatius_ ________
 9                                                               KATHLEEN SERVATIUS
                                                                 Assistant U.S. Attorney
10

11
                                                ORDER
12

13
            IT IS SO ORDERED that the Motion Hearing before Judge Ishii on March 24, 2014 is
14
     taken off calendar and a 6th Status Conference is set on March 24, 2014 at 1:00 PM before Judge
15
     McAuliffe. Time is excluded justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).
16

17
     IT IS SO ORDERED.
18
        Dated:    March 5, 2014                              /s/ Barbara A. McAuliffe              _
19
                                                      UNITED STATES MAGISTRATE JUDGE
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